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In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

******************** *
MEGAN WILCOX,            *                           No. 11-875V
                         *
             Petitioner, *                           Special Master Christian J. Moran
                         *
                         *                           Filed: August 28, 2014
v.                       *
                         *                           Stipulation; human papillomavirus
SECRETARY OF HEALTH      *                           (“HPV”); systemic lupus
AND HUMAN SERVICES,      *                           erythematosus (“SLE”)
                         *
             Respondent. *
******************** *

Ronald C. Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for
Petitioner;
Vincent Matanoski, U. S. Dep’t of Justice, Washington, DC, for Respondent.

                              UNPUBLISHED DECISION1

       On August 25, 2014, respondent filed a joint stipulation concerning the
petition for compensation filed by Megan Wilcox on December 14, 2011. In her
petition, petitioner alleges that the human papillomavirus (“HPV”) vaccine, which
is contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), and
which she received on December 29, 2008 caused her to develop systemic lupus
erythematosus (“SLE”). Petitioner further alleges that she experienced the
residual effects of this injury for more than six months. Petitioner represents that
there has been no prior award or settlement of a civil action for damages as a result
of her condition.


       1
          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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      Respondent denies that the HPV immunization is the cause of petitioner’s
alleged SLE, and/or any other injury.

      Nevertheless, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds said stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       A lump sum payment of $22,000.00 in the form of a check payable to
       Megan Wilcox. This amount represents compensation for all damages
       that would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 11-875V according to this decision
and the attached stipulation.2

     Any questions may be directed to my law clerk, Marc Langston, at (202)
357-6392.

       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




       2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

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